Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 1 of 19 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
NADINE DYER,
                                                                   Case No.
                                     Plaintiff,
                                                                   COMPLAINT
             - against -
                                                                   JURY TRIAL DEMANDED
HOPKINS CENTER FOR REHABILITATION
AND HEALTHCARE,
                                    Defendant.
-------------------------------------------------------X

        Plaintiff, Nadine Dyer, (hereinafter “Plaintiff” or “Ms. Dyer”), by her attorneys,

FILIPPATOS PLLC, hereby complains of Defendant, Hopkins Center for Rehabilitation and

Healthcare, (“Defendant” or “Hopkins Rehab”), upon personal knowledge, as well as

information and belief, by alleging and averring as follows:

                                          PRELIMINARY STATEMENT

    1. Plaintiff brings this action against Defendant for violations of the anti-retaliation protection

        provisions of the Federal False Claims Act, 31 U.S.C. §§ 3729 et seq. (hereinafter the

        “FCA”), as well as its New York State analog, the New York False Claims Act, N.Y. State

        Fin. Law, §§ 187 et seq. (hereinafter the “NYFCA”), and for violations of the Family and

        Medical Leave Act, 29 §§ 2601, et seq. (“FMLA”).

    2. As more fully alleged herein, Defendant unlawfully terminated Plaintiff’s employment

        because she complained about the fraud committed by Defendant against the United State

        government, as well as the State and City of New York – i.e., securing patient referrals or

        other business interests by (a) primarily (but not exclusively) offering remuneration

        (through money or other things of value), which exchange involved, in whole or in part,

        federal     health    care     programs     and    (b)   relatedly   submitting   false   Medicaid
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 2 of 19 PageID #: 2




      claims. Moreover, Defendant’s unlawful termination of Plaintiff’s employment constitutes

      a violation of the applicable federal and state statutes cited herein; accordingly, the

      Complaint seeks the full panoply of relief provided by these statutes.

                                           THE PARTIES

   3. Defendant is a domestic not-for-profit corporation organized under the laws of the State of

      New York, with its principal place of business and headquarters located at 155 Dean

      Street, Brooklyn, NY 11217.

   4. Plaintiff is an adult citizen of the United States of America and resident of Kings County

      within the City and State of New York.

                                  JURISDICTION AND VENUE

   5. This Court has subject matter jurisdiction over this matter pursuant to 29. U.S.C. §§ 2617,

      28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), since the claims contained in the Complaint

      arise from violations of laws of the United States of America and the State of New York.

   6. This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

      U.S.C. § 1367(a) because those claims are so related to the federal claims contained in this

      action, which are within the original jurisdiction of the Court, that they form part of the

      same case or controversy under Article III of the United States Constitution. Jurisdiction

      over Plaintiff’s NYFCA claim is also invoked pursuant to 31 U.S.C. § 3732.

   7. This Court has personal jurisdiction over Defendant pursuant to 31 U.S.C. § 3732(a)

      because Defendant is found, resides, or transacts business in the Eastern District of New

      York; moreover, 31 U.S.C. § 3732(a) further provides for nationwide service of process.




                                               2
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 3 of 19 PageID #: 3




   8. Venue is proper in the Eastern District of New York under 28 U.S.C. § 1391(b) and 31

       U.S.C. § 3732 because Defendant conducts business, and some or all of the actions or

       omissions giving rise to Plaintiff’s claims occurred, within this judicial district.

                            NATURE AND OVERVIEW OF THE CASE

   9. Defendant is a domestic not-for-profit corporation that provides rehabilitative and

       palliative care, including long-term nursing care for medically complex patients.

   10. At all times relevant herein, the care provided by Defendant was funded (at least in part)

       by the federal government, as well as the City and State of New York, through Medicaid

       payments received by Defendant.

   11. While employed by Defendant, Plaintiff obtained information indicating that Defendant

       engaged in fraudulent conduct by offering to pay remuneration -- in the form of pre-paid

       gift cards -- in exchange for patient referrals or other business opportunities involving, in

       whole or in part, federally funded health care program – i.e., Medicaid.

   12. These practices not only put Defendant and its staff at risk but deprived the patients who

       were under Defendant’s care of their full measure of benefits under Medicaid.

   13. Soon after Plaintiff complained about these fraudulent practices to Defendant’s

       management, Defendant summarily fired her.

                           SPECIFIC FACTUAL ALLEGATIONS

Plaintiff is Hired by Defendant

   14. After an extensive interview process, on or about May 18, 2018, Plaintiff was hired by

       Defendant for the position of Director of Admissions to oversee the Admissions Office of

       Defendant. In this position, Plaintiff was compensated with a salary of $112,500, annually.




                                                  3
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 4 of 19 PageID #: 4




   15. At all times relevant herein, Plaintiff’s direct supervisor was Ari Donowitz, Administrator

       at Hopkins Rehab.

   16. At all times relevant herein, Catherine Friedman was the HR Director at Hopkins Rehab.

   17. At all times relevant herein, Christhian Rivera was the Corporate Compliance Officer at

       Hopkins Rehab.

   18. At all times relevant herein, Shlomo Levi was the Regional Director of Operations at

       Hopkins Rehab.

   19. At all times relevant herein, Don Coyne, Esq., acted as legal counsel to Hopkins Rehab.

   20. Mr. Donowitz commenced working at Defendant in or around November 2020 and became

       Plaintiff’s direct supervisor at that time. During her nearly three years of employment at

       Defendant prior to Mr. Donowitz’s arrival, Plaintiff received numerous compliments from

       her former supervisor, Susan Rice, on her performance and work ethic.

   21. However, a few days after he joined Defendant as Administrator, Mr. Donowitz threatened

       to demote Plaintiff because she did not attend a meeting.            Based on Plaintiff’s

       understanding of Defendant’s policies, Plaintiff was unable to attend this meeting due to a

       lack of coverage in the Admissions Office, which she explained to Mr. Donowitz.

Mr. Donowitz Instructs Plaintiff to Admit HMO Medicare Patients Who Did Not Have a

Contract with Defendant, Disenroll Them from Their Coverage and Enroll Them in Nursing

Home Medicaid Pending So They Would Qualify for Coverage at Hopkins, and Enroll Them

in “Straight Medicare” on the First of the Month.

   22. Notwithstanding that Defendant had few contracts with insurance carriers, Defendant’s

       policy was to deny referrals of patients whose insurance carriers did not have a contract

       with Hopkins Rehab.



                                                4
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 5 of 19 PageID #: 5




   23. After Mr. Donowitz became Plaintiff’s supervisor, he demanded to know why Plaintiff was

       rejecting referrals of patients whose insurance carriers did not have a contract with

       Hopkins. When Plaintiff explained that these patients had insurers who were out of

       network and did not have contracts with Hopkins, and that therefore Hopkins could not

       take them in, Mr. Donowitz said to Plaintiff, in sum and substance, “that’s why we're so

       behind compared to Bensonhurst and all the other facilities!” Mr. Donowitz then told

       Plaintiff, “I’ll pay for the ambulance transportation here,” before telling Plaintiff that he

       would disenroll patients from their primary Medicare HMO insurance during their stay at

       Hopkins -- which Hopkins did not accept -- and apply for nursing home Medicaid pending,

       and then enroll them in “straight Medicare” on the first of the month, which Hopkins

       accepted. Plaintiff told Mr. Donowitz that her previous supervisor, Ms. Rice, had told her

       that this was not permitted. However, Mr. Donowitz said he did not care.

   24. Plaintiff knew that this scheme of enrolling HMO Medicare patients in Medicaid to qualify

       them to stay at Hopkins Rehab until they had non-HMO Medicare was unlawful. Indeed,

       Plaintiff spoke to Chris [last name unknown], Defendant’s HMO Coordinator, about this

       unlawful scheme in December 2020.

Mr. Donowitz Tells Plaintiff to “Bring In” Medicare Patients Using American Express Gift

Cards; Plaintiff Complains to Defendant’s HR Director.

   25. At approximately 4:30 PM on January 7, 2021, Mr. Donowitz told Plaintiff that, starting

       the next day, January 8, 2021, she would be sent “into the field” to do “marketing,” despite

       Plaintiff never having been expected to engage in marketing work before, nor having

       received any training to do so. Mr. Donowitz further informed Plaintiff that beginning

       immediately, another Hopkins Rehab employee, Eileen Hennesy, would fill the role of



                                                5
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 6 of 19 PageID #: 6




      Acting Director of Admissions. Plaintiff explained to Mr. Donowitz that she had no

      experience with marketing and did not know where to go (or how) to carry out this

      marketing task because hospitals in the area were not allowing vendor visits due to the

      ongoing COVID-19 pandemic.

   26. Shockingly, Mr. Donowitz told Plaintiff that she should “ask a marketer” and “force” her

      way into the hospital if it came to that.

   27. A short time later, Mr. Donowitz asked to see Plaintiff in his office for updates regarding

      her marketing efforts. During this meeting, Mr. Donowitz gave Plaintiff three $100

      American Express gift cards and ordered her to “give them out.” Specifically, Mr.

      Donowitz told Plaintiff to “bring in” three Medicare patients using these gift cards.

      Plaintiff believed Mr. Donowitz’s request was unlawful, yet being highly uncomfortable

      with him, she felt too afraid to report the incident to HR at the time. Instead, Plaintiff

      decided to hold onto the gift cards and tell Mr. Donowitz that she had given them away;

      Plaintiff decided upon this course of action because she feared Mr. Donowitz’s retaliation

      if she did not give out the gift cards as he had ordered her to do.

   28. Plaintiff also noticed around this time that fellow Hopkins Rehab employees had been

      responding to emails in her name and using her credentials in the office, while Plaintiff

      was working in the field.

   29. On January 13, 2021, still troubled by Mr. Donowitz’s request that Plaintiff “bring in” three

      Medicare patients using $100 gift cards, Plaintiff filed two complaints with Defendant’s

      corporate office. First, Plaintiff called the Compliance Hotline and told them that, during

      her absence beginning on January 8, 2021, some of her co-workers were using her




                                                  6
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 7 of 19 PageID #: 7




      workplace email account/credentials. Upon information and belief, this complaint was

      directed to Ms. Friedman, HR Director at Hopkins Rehab.

   30. In addition, Plaintiff sent a letter, dated January 13, 2021, directly to Ms. Friedman, which

      detailed several uncomfortable instances she had experienced with Mr. Donowitz,

      including when Mr. Donowitz had given Plaintiff three $100 American Express gift cards

      to be given out to social workers in exchange for Medicare patient referrals. Plaintiff’s

      letter directly raised the concern that the Hopkins Center Code of Conduct Handbook, as

      well as Plaintiff’s understanding of applicable laws, strictly prohibited the giving or

      receiving of any form of payment, kickback, or bribe to induce the referral of patients to

      Hopkins Rehab facilities. Moreover, Plaintiff made clear that she felt that she had no choice

      but to oblige Mr. Donowitz’s orders -- despite their impropriety -- for fear of retaliation.

   31. Indeed, Plaintiff made clear in her January 13, 2021, letter to Ms. Friedman that she felt

      intimidated, manipulated, and forced not to follow Hopkins’s policies and procedures,

      and/or the applicable laws. Lastly, Plaintiff’s letter informed Ms. Friedman that in March

      2020, Plaintiff had contracted the COVID-19 virus, and, while she had since recovered,

      Plaintiff was left with various side effects such as the frequent need for urination. Plaintiff

      ended her January 13, 2021, letter by stating her concern that any continued work in the

      field would cause a serious medical issue for Plaintiff, as she now had limited access to

      restrooms throughout her workday.

   32. The very next day, January 14, 2021, Christhian Rivera (“Mr. Rivera”), former Corporate

      Compliance Officer at Hopkins Rehab, called Plaintiff and told her that he would like to

      discuss her complaint to HR with her in person. Plaintiff initially agreed to this meeting,

      but ultimately called Mr. Rivera back and expressed that she was too emotional to meet



                                                7
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 8 of 19 PageID #: 8




      with him given everything that had transpired with Mr. Donowitz; indeed, Plaintiff

      informed Mr. Rivera that she felt threatened by Mr. Donowitz.

   33. Later that morning, Plaintiff received a phone call from Don Coyne, Esq. (“Mr. Coyne”),

      whom Plaintiff later learned was acting as legal counsel for Hopkins Rehab. At the time,

      Mr. Coyne told Plaintiff that he wanted to speak with her regarding the complaint she had

      written to HR. Plaintiff repeatedly told Mr. Coyne that she did not feel comfortable talking

      to him over the phone without her own lawyer present. Plaintiff further explained that,

      before saying anything else, she would have to verify Mr. Coyne’s identity with her

      employer -- to do this, Plaintiff placed a call to Ms. Friedman, who told Plaintiff that she

      was not familiar with Mr. Coyne. However, Ms. Friedman did verify that the RYTES

      Company, where Mr. Coyne works, was hired by Hopkins to legally represent them.

   34. Plaintiff then reiterated to Ms. Friedman that she did not feel comfortable speaking to an

      attorney for Hopkins Rehab without her own attorney present. Ms. Friedman informed

      Plaintiff that she was within her rights to refuse to speak to Mr. Coyne without Plaintiff’s

      own counsel present.

   35. Later that day, Plaintiff called Mr. Coyne back and told him exactly what she had told Ms.

      Friedman. Mr. Coyne then asked Plaintiff if she wanted to speak to someone else in his

      office who was not a lawyer. Plaintiff told him “no,” and informed him that she would get

      back to him the following Tuesday. Nevertheless, Mr. Coyne continued to try and persuade

      Plaintiff into telling him what had happened. Plaintiff repeatedly refused and insisted that

      she would call him back the following week after she had spoken with her attorney.

   36. At 3:30pm that same day, Plaintiff received another phone call from Mr. Coyne, who

      sounded irate – not calm and professional as he had been earlier that day. Mr. Coyne told



                                               8
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 9 of 19 PageID #: 9




      Plaintiff that she had to speak with him “right now,” that he had spoken to someone from

      HR at Hopkin Rehab, and that they had agreed that Plaintiff would have to talk to him.

      Threateningly, Mr. Coyne told Plaintiff that she was jeopardizing her job by not speaking

      to him. In response, Plaintiff reminded Mr. Coyne that she wrote a detailed letter to Ms.

      Friedman regarding her concerns, and re-iterated that she was not comfortable speaking

      further to him without her own attorney present.

   37. After her phone call with Mr. Coyne, Plaintiff called Ms. Friedman again to tell her what

      had happened. Ms. Friedman told Plaintiff that she was unaware of what had taken place –

      she had not talked to anyone in the office. Ms. Friedman then asked for Mr. Coyne’s contact

      information and reassured Plaintiff that she would reach out to him.

   38. Approximately one week later, on or about January 21, 2021, Plaintiff received a phone

      call from Ms. Friedman asking if Plaintiff could come to her office the following morning.

      Ms. Friedman told Plaintiff in advance that the meeting would be kept confidential.

   39. Plaintiff met with Ms. Friedman the next day. At the beginning of the meeting, Ms.

      Friedman asked Plaintiff what she “really wanted.” Not sure what Ms. Friedman meant,

      Plaintiff asked if she could elaborate. Ms. Friedman explained to Plaintiff that Shlomo Levi

      (“Mr. Levi”), Regional Director of Operations at Hopkins Rehab, wanted to “settle” with

      her. Confused, Plaintiff told Ms. Friedman that she did not feel comfortable assigning a

      “dollar value” to this situation, as she had never been in a situation like this before. Ms.

      Friedman again asked Plaintiff to present a figure, to which Plaintiff repeated that she did

      not know. Ms. Friedman continued to push Plaintiff, offering: “ok, what about $5,000?”

   40. By this point feeling harassed, Plaintiff responded to Ms. Friedman that $5,000 was less

      than her monthly salary.



                                               9
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 10 of 19 PageID #: 10




    41. Thirty minutes later, Mr. Levi arrived at Hopkins Rehab to meet with Plaintiff. Mr. Levi

       began his conversation with Plaintiff by explaining that he could “bump” the settlement up

       to $12,800 and add two months of medical insurance coverage as well. In addition, Plaintiff

       would be able to collect unemployment after two months. Mr. Levi told Plaintiff that the

       “settlement” he was offering was very generous considering that most people only get one

       week severance for each year worked, perhaps incorrectly assuming that Plaintiff had only

       worked at Hopkins Rehab for one year.

    42. Plaintiff then reminded Mr. Levi that she had been working at Hopkins Rehab for almost

       three years. Mr. Levi once again informed Plaintiff that his settlement offer was very

       beneficial to her. In an attempt to persuade Plaintiff to accept his offer and resolve the

       matter immediately, Mr. Levi told Plaintiff that if the case were to go to court, it could take

       years, that attorney’s fees could cost her over $10,000, etc.

    43. Mr. Levi then sarcastically asked Plaintiff: “where’s your lawyer” before telling her that

       Mr. Donowitz was planning to fire her. Plaintiff explained to Mr. Levi that it would be

       difficult for her to find another job in Brooklyn, to which Mr. Levi responded that Hopkins

       Rehab would give Plaintiff a reference letter. When Plaintiff asked Mr. Levi why Mr.

       Donowitz would not just fire her instead of treating her like this, Mr. Levi apologized for

       Mr. Donowitz’s behavior.

    44. Plaintiff ultimately refused Mr. Levi’s settlement offer and Mr. Levi ended the meeting.

       Later that day, Ms. Friedman contacted Plaintiff to schedule another settlement meeting

       with Mr. Levi for the following Friday.

    45. Given that Plaintiff became ill around the time of the scheduled second meeting, she

       requested sick leave, which was covered by the FMLA, for two days, and as a result, the



                                                 10
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 11 of 19 PageID #: 11




       meeting was rescheduled for the first week in February. Present at the second meeting on

       February 1, 2021, were Plaintiff, Ms. Friedman, and Mr. Levi, who began the meeting by

       summarizing what had occurred at the last meeting, including Mr. Levi’s offer in

       “settlement” of approximately $12,800 plus two months of insurance, as well as Plaintiff’s

       rejection of that offer. Mr. Levi then stated that the offer was still standing, but that he

       would need a “yes or no” during this meeting.

    46. Plaintiff told Mr. Levi that she would have to discuss the offer with her attorney first, to

       which Mr. Levi responded, “I don’t deal with any attorney stuff.” Mr. Levi then asked

       Plaintiff for the last time whether she would agree to his settlement offer. Plaintiff, once

       again, informed him that she wanted to speak with her attorney first. In response, Mr. Levi

       informed Plaintiff, then and there, that he was terminating her, effective immediately.

       When Plaintiff asked for her termination letter, Mr. Levi stated that Hopkins Rehab does

       not give out termination letters. Plaintiff was then humiliatingly escorted off the premises

       of Hopkins Rehab.

    Causation Based on Temporal Nexus Between Plaintiff’s Protected Whistleblower Activity

    and Her Unlawful Termination as well as Subsequent Remedial Action by Defendant.

    47. Defendant unlawfully terminated Plaintiff’s employment on February 1, 2021. Tellingly,

       Plaintiff was terminated by Hopkins Rehab a short time after she raised concerns about the

       legality of Defendant’s conduct. Plaintiff was also terminated not even one week after

       going out on FMLA protected leave, which further indicates that she was retaliatorily

       terminated for attempting to engage in protected activity.

    48. Specifically, Plaintiff raised concerns to both Mr. Donowitz and Ms. Friedman regarding

       unlawful “remuneration” in return for referrals or other generation of business.



                                                11
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 12 of 19 PageID #: 12




       Specifically, Plaintiff referred to the proffer of three $100 American Express gift cards to

       her for the purpose of giving them out to social workers in exchange for Medicare patient

       referrals.

    49. Plaintiff sent a letter, dated January 13, 2021, directly to Ms. Friedman detailing these

       concerns, which made clear she felt intimidated, manipulated, and pressured to ignore

       Hopkins’s policies and procedures, as well as applicable laws.

    50. In short, Plaintiff shared her concerns with Mr. Donowitz, her supervisor and the

       Administrator at Hopkins Rehab, as well as Ms. Friedman, the HR Director at Hopkins

       Rehab.

    51. Approximately three weeks later, Plaintiff was abruptly terminated and given no

       explanation by Defendant other than her refusal to accept Defendant’s offer for

       “settlement” surrounding the concerns Plaintiff had raised to Ms. Friedman, Mr. Donowitz,

       and Mr. Levi.

    52. In December 2020, Plaintiff also raised concerns about Mr. Donowitz’s fraudulent scheme

       – i.e., disenrolling patients from their health insurance before enrolling them in Medicaid

       to qualify them to stay at Hopkins, and then re-enrolling them on their prior insurance --

       with Chris [last name unknown], the Hopkins Rehab HMO Coordinator, as well as Mr.

       Donowitz himself.

    53. The temporal nexus between Plaintiff’s protected activity and the subsequent adverse

       action against her by Defendant amply establishes causation under the applicable statutes.

                        AS A FIRST CAUSE OF ACTION FOR
                    RETALIATION UNDER 31 U.S.C. SECTION 3730(h)

    54. Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs of the

       Complaint as if fully set forth herein.


                                                 12
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 13 of 19 PageID #: 13




    55. At all material times herein, Plaintiff was an employee of Defendant within the meaning

       of the FCA and as such she was covered by the whistleblower retaliation protections set

       forth in 31 U.S.C. § 3730(h).

    56. Plaintiff performed all the terms and conditions of her employment in a satisfactory or

       exemplary manner.

    57. Plaintiff harbored a reasonable suspicion in good faith that Defendant was engaged in

       unlawful activities that defrauded the Federal, State, and City governments as described

       herein.

    58. Plaintiff reported these activities to Defendant’s agents in an effort to stop the fraud.

    59. At all material times, Defendant was aware of Plaintiff’s actions.

    60. In response to Plaintiff’s activities, which were protected conduct under the FCA,

       Defendant wrongfully retaliated against Plaintiff for reporting the fraudulent practices that

       allowed Defendant to obtain government funds, including from the United States of

       America and the State and City of New York, contrary to the whistleblower protections of

       the FCA, 31 U.S.C. § 3730(h).

    61. Specifically, Defendant violated the FCA, 31 U.S.C. § 3730(h), when it threatened and

       harassed Plaintiff, terminated her employment, and otherwise discriminated against

       Plaintiff regarding the terms, benefits, conditions, and privileges of her employment in

       response to her protected activities of exposing Defendant’s fraud against the governmental

       entities cited herein.

    62. Furthermore, the Federal “Anti-Kickback” statute, 42 U.S.C. § 1320a-7b(b), (the “Anti-

       Kickback statute”), forbids providing the knowing and willful payment of “remuneration”




                                                  13
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 14 of 19 PageID #: 14




       in return for referrals or generation of business involving any item or service payable under

       a federal healthcare program. 42 U.S.C. § 1320a-7b(b).

    63. The Anti-Kickback statute makes clear that “a claim that includes items or services

       resulting from a violation of [that statute] constitutes a false or fraudulent claim for

       purposes of” the FCA.” 42 U.S.C. § 1320a-7b(g).

    64. Defendant, by and through its agent Mr. Donowitz, violated the Anti-Kickback statute by

       providing Plaintiff with three $100 American Express gift cards to “give out”, in order to

       “bring in” three Medicare patients to Hopkins’ facilities, thereby directing the knowing and

       willful payment of “remuneration” in return for referrals or generation of business

       involving an item or service payable under a Federal healthcare program.

    65. Plaintiff engaged in protected activity when she complained on January 13, 2021, to Ms.

       Friedman via letter which directly raised concerns about unlawful renumeration regarding

       the three $100 gift cards provided to her by Mr. Donowitz, and detailed her concerns that

       the Hopkins Center Code of Conduct Handbook, as well as her understanding of applicable

       laws, strictly prohibited the giving or receiving any form of payment, kickback, or bribes

       to induce the referral of patients to Hopkins facilities.

    66. As a direct and proximate result of Defendant’s unlawful and wrongful actions or

       omissions against Plaintiff, as described herein, Plaintiff has sustained injuries and

       damages, including, but not limited to: (a) loss of earnings; (b) loss of career opportunities;

       (c) mental and emotional distress; (d) loss of reputation and esteem in the community; and

       (e) loss of ordinary pleasures of everyday life, including the opportunity to pursue the

       gainful occupation of her choice.




                                                 14
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 15 of 19 PageID #: 15




                     AS A SECOND CAUSE OF ACTION FOR
             RETALIATION UNDER N.Y. STATE FIN. LAW SECTION 191(1)

    67. Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs of the

       Complaint as if fully set forth herein.

    68. At all material times herein, Plaintiff was an employee of Defendant within the meaning

       of the NYFCA and as such she was covered by the whistleblower retaliation protections

       set forth in N.Y. Fin. Law § 191(1).

    69. Plaintiff performed all the terms and conditions of her employment in a satisfactory or

       exemplary manner.

    70. Plaintiff harbored a reasonable suspicion in good faith that Defendant was engaged in

       unlawful activity that defrauded the Federal, State, and City governments as described

       herein.

    71. Plaintiff reported these activities to Defendant’s agents in an effort to stop the fraud.

    72. At all material times, Defendant was aware of Plaintiff’s actions.

    73. In response to Plaintiff’s activities, which were protected conduct under the NYFCA,

       Defendant wrongfully retaliated against Plaintiff for reporting the fraudulent practices that

       allowed Defendant to obtain government funds, including from the United States of

       America and the State and City of New York, contrary to the whistleblower protections of

       the NYFCA, N.Y. Fin. Law § 191(1).

    74. Specifically, Defendant violated the NYFCA, N.Y. Fin. Law § 191(1), when it threatened

       and harassed Plaintiff, terminated her employment, and otherwise discriminated against

       Plaintiff regarding the terms, benefits, conditions, and privileges of her employment in

       response to her protected activities of exposing Defendant’s fraud against the governmental

       entities cited herein.


                                                  15
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 16 of 19 PageID #: 16




    75. As a direct and proximate result of Defendant’s unlawful and wrongful actions or

       omissions against Plaintiff, as described in this Complaint, Plaintiff has sustained injuries

       and damages, including, but not limited to: (a) loss of earnings; (b) loss of career

       opportunities; (c) mental and emotional distress; (d) loss of reputation and esteem in the

       community; and (e) loss of ordinary pleasures of everyday life, including the opportunity

       to pursue the gainful occupation of her choice.

                              AS A THIRD CAUSE OF ACTION FOR
                              INTERFERENCE AND RETALIATION
                      UNDER THE FAMILY AND MEDICAL LEAVE ACT
    76. Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs of the

       Complaint as if fully set forth herein.

    77. Section 2612(D) of the Family and Medical Leave Act, states in pertinent part: “an eligible

       employee shall be entitled to a total of 12 work weeks of leave during any 12-month period.

       . . Because of a serious health condition that makes the employee unable to perform the

       functions of the position of such employee.”

    78. Section 2615(a) of the Family and Medical Leave Act, states in pertinent part:

       Interference with rights.

               (1) Exercise of rights. It shall be unlawful for any employer to interfere with,
                   restrain, or deny the exercise of or the attempt to exercise, any right provided
                   under this subchapter.

               (2) Discrimination. It shall be unlawful for any employer to discharge or in any
                   other manner discriminate against any individual for opposing any practice
                   made unlawful by this subchapter


    79. Upon information and belief, Plaintiff and Defendant Hopkins Rehab are both subject to

       the FMLA, respectively, as eligible employee and covered employer, as Plaintiff is a full-

       time employee who has worked for Defendant Hopkins Rehab for over one (1) year.



                                                 16
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 17 of 19 PageID #: 17




       Additionally, Defendant Hopkins Rehab employs over 50 employees within a 75-mile

       radius.

    80. Defendant Hopkins Rehab interfered with Plaintiff’s rights under the FMLA by not

       providing the required documentation upon its knowledge that she would be needing to use

       leave under the FMLA; for not notifying Plaintiff that she could use leave; and for

       terminating her employment just one week after taking leave.

    81. As such, Plaintiff has been damaged as set forth herein.

                                    DEMAND FOR JURY TRIAL

    82. Plaintiff hereby demands a trial by jury.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

           A. Declaring the acts and omissions complained of herein are in violation of the

                 whistleblower protections contained in 31 U.S.C. § 3730(h);

           B. Enjoining and permanently restraining Defendant from the violations of the

                 whistleblower protections contained in 31 U.S.C. § 3730(h);

           C. Awarding damages in an amount consistent with the evidence and according to

                 proof, including, but not necessarily limited to, liquidated damages for two times

                 the amount of back pay, interest on back pay, compensatory damages, and

                 consequential damages as provided by 31 U.S.C. § 3730(h)(2);

           D. Declaring the acts and omissions complained of herein are in violation of the

                 whistleblower protections contained in N.Y. Fin. Law § 191(1);

           E. Enjoining and permanently restraining Defendant from the violations of the

                 whistleblower protections contained in N.Y. Fin. Law § 191(1);



                                                    17
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 18 of 19 PageID #: 18




          F. Awarding damages in an amount consistent with the evidence and according to

             proof, including, but not necessarily limited to, liquidated damages for two times

             the amount of back pay, interest on back pay, compensatory damages, and

             consequential damages as provided by N.Y. Fin. Law § 191(1);

          G. Directing Defendant to reinstate Plaintiff to the position she would have occupied,

             but for Defendant’ discriminatory and retaliatory treatment; or, in the alternative,

             awarding Plaintiff front pay in an amount to be proven and determined at trial;

          H. Declaring Defendant’s acts against Plaintiff as willful, wanton, and malicious, and

             directing Defendant pay Plaintiff punitive or special damages in an amount to be

             proven and determined at trial;

          I. Awarding interest on such damages at the legal rate from the date of judgment until

             paid;

          J. Awarding Plaintiff all reasonable expenses that were necessarily incurred in the

             prosecution of this action, plus all reasonable attorneys’ fees and costs, as provided

             by 31 U.S.C. §§ 3730(h), and N.Y. Fin. Law § 191(1) and;

          K. Declaring that Defendant engaged in unlawful employment practices prohibited by

             the Family and Medical Leave Act, 29 U.S.C. §§ 2601, et seq.

          L. Awarding damages to Plaintiff for all lost wages and benefits resulting from

             Defendant’s unlawful discrimination and to otherwise make her whole for any

             losses suffered as a result of such unlawful employment practices;

          M. Awarding Plaintiff compensatory damages for mental, emotional, and physical

             injury, distress, pain and suffering and injury to her reputation in an amount to be

             proven;



                                               18
Case 1:22-cv-01212-KAM-RLM Document 1 Filed 03/04/22 Page 19 of 19 PageID #: 19




           N. Ordering such other and further relief as the Court deems just and proper.

 Dated: White Plains, New York
        March 1, 2022
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                                                    By: /s/ Parisis G. Filippatos
                                                        Parisis G. Filippatos (PF-1593)




                                               19
